                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 171 Filed 05/27/21 Page 1 of 2 Page ID #:4592



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                                                                                                                 10                         UNITED STATES DISTRICT COURT
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                 11                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                 12                                  WESTERN DIVISION
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




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                                                                                                                 14   HONG LIU,                                   Case No. 2:20-cv-08035-SVW-JPR
                                                                                                                 15                   Plaintiff,                  Honorable Stephen V. Wilson
                                                                                                                 16           v.                                  ORDER GRANTING DEFENDANT
                                                                                                                                                                  SMART KING LTD. AND
                                                                                                                 17   FARADAY&FUTURE INC.,                        DEFENDANT AND
                                                                                                                      SMART KING LTD., JIAWEI                     COUNTERCLAIMANT
                                                                                                                 18   WANG, and CHAOYING DENG,                    FARADAY&FUTURE INC.’S
                                                                                                                                                                  APPLICATION FOR LEAVE TO
                                                                                                                 19                   Defendants.                 FILE UNDER SEAL CERTAIN
                                                                                                                                                                  PORTIONS OF SMART KING LTD.
                                                                                                                 20                                               AND FARADAY&FUTURE INC.’S
                                                                                                                                                                  OBJECTIONS TO THE
                                                                                                                 21                                               DECLARATION OF HONG LIU
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                                                                                                                                                                  Pretrial Conference:      7/19/21
                                                                                                                 24 AND RELATED COUNTERCLAIM.                     Trial:                    7/27/21
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                                                                                                                      [PROPOSED] ORDER GRANTING SMART KING LTD. AND FARADAY&FUTURE INC.’S APPLICATION FOR LEAVE
                                                                                                                          TO FILE UNDER SEAL CERTAIN PORTIONS OF THE OBJECTIONS TO THE DECLARATION OF HONG LIU
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 171 Filed 05/27/21 Page 2 of 2 Page ID #:4593



                                                                                                                  1           Upon consideration of Defendant Smart King Ltd. and Defendant and
                                                                                                                  2   Counterclaimant Faraday&Future Inc.’s (collectively, “FF”) Application for Leave
                                                                                                                  3   to File Under Seal Certain Portions of Objections to the Declaration of Hong Liu (the
                                                                                                                  4   “Objections”), and upon consideration of the Declaration of Lauren E. Grochow,
                                                                                                                  5   and finding that filing under seal is appropriate, it is hereby ordered that the
                                                                                                                  6   Application is GRANTED. FF shall be permitted to file under seal the portions of
                                                                                                                  7   the Objections that quote and refer to privileged information in Paragraphs 34-37 of
                                                                                                                  8   the Plaintiff Hong Liu’s Declaration.
                                                                                                                  9           IT IS SO ORDERED.
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T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                 11   Dated: May 27, 2021              _______________________________________
                                                                                                                                                            Honorable Stephen V. Wilson
                                                                                                                 12                                         United States District Court Judge
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
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                                                                                                                      [PROPOSED] ORDER GRANTING SMART KING LTD. AND FARADAY&FUTURE INC.’S APPLICATION FOR LEAVE
                                                                                                                          TO FILE UNDER SEAL CERTAIN PORTIONS OF THE OBJECTIONS TO THE DECLARATION OF HONG LIU
